                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                               )
        v.                                     )         CASE NO. 1:13-CR-89
                                               )
 FRANK WHITE                                   )



                                             ORDER

        On March 25, 2014, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

 included offense in Count One of the Second Superseding Indictment, conspiracy to distribute 28

 grams or more of a mixture and substance containing a detectable amount of cocaine base

 (“crack”), a Schedule II controlled substance, in violation of 21 USC '' 846, 841(a)(1) and

 (b)(1)(B), in exchange for the undertakings made by the government in the written plea agreement;

 (b) the Court adjudicate Defendant guilty of the charges set forth in the lesser included offense in

 Count One of the Second Superseding Indictment; (c) that a decision on whether to accept the plea

 agreement be deferred until sentencing; and (d) Defendant shall remain in custody pending

 sentencing in this matter (Doc. 275). Neither party filed an objection within the given fourteen

 days. After reviewing the record, the Court agrees with the magistrate judge=s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s

 report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Second

 Superseding Indictment, in exchange for the undertakings made by the government in the written

 plea agreement, is ACCEPTED;




Case 1:13-cr-00089-TRM-SKL           Document 297        Filed 04/14/14      Page 1 of 2      PageID
                                           #: 753
        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Second Superseding Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 July 7, 2014, at 9:00 am.

        SO ORDERED.

        ENTER:


                                                         /s/ Harry S. Mattice, Jr._______
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                               2


Case 1:13-cr-00089-TRM-SKL         Document 297       Filed 04/14/14    Page 2 of 2     PageID
                                         #: 754
